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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                     (Eastern Division)



 In re
                                                      Chapter 13
          ANDREW GREENHUT,
                                                      Case No. 19-10782-FJB
                         Debtor.



             SECOND MOTION OF CREDITOR GITA SRIVASTAVA TO
         COMPEL DEBTOR TO WITHDRAW FILING AND REDACT DOCUMENT
                      (Emergency Determination Requested)

         Gita Srivastava (“Srivastava”), the holder of divorce-related claims against Andrew

Greenhut (the “Debtor”), once again moves this Honorable Court to enter an order compelling

the Debtor to withdraw exhibits filed in violation of Texas court orders sealing the parties’

divorce records. Although the Debtor has made redactions to the documents, the documents

themselves remain subject to an order placing them under seal, and may not be disclosed or

publicly filed. In support of this Motion, Srivastava represents as follows:

         1.     Srivastava previously filed her Motion of Creditor Gita Srivastava to Compel

Debtor to Withdraw Filing and Redact Document [Doc. No. 50] (the “Motion to Compel”) on an

emergency basis on June 19, 2019, in connection with the Debtor’s previously filed Objection of

Debtor to the Amended Proof of Claim of Gita Srivastava Claim No. 8 and Request for

Evidentiary Sanctions Under Fed. R. Bankr. Pro. 3001(c)(2)(D) [Doc. No. 45] (the “Claim

Objection”).

         2.     The Court has scheduled a hearing on the Motion to Compel on June 27, 2019.

Pending such hearing, the Court has restricted access to the Claim Objection exhibits, which
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include pleadings from the parties’ Texas divorce case which are under seal by Texas court

order.

         3.     In response to the Motion to Compel, the Debtor filed his Motion to Redact and

Replace Document [Doc. No. 57] (the “Motion to Redact”), seeking relief to redact the exhibits

to the Claim Objection. The Debtor did in fact redact sensitive personal information on the

exhibits, but did also re-file the entire exhibits, including pleadings from the sealed Texas case.

In other words, the Debtor has openly re-filed and made publicly available the very documents

the Court just restricted access to. Accordingly, Srivastava once again requests that the Court

compel the Debtor to withdraw the sealed documents.

         4.     Srivastava once again also requests emergency determination of this Motion in

order to limit the exposure of the sealed documents and minimize any damage to affected parties,

including her minor child.

         WHEREFORE, for all of the foregoing reasons, Srivastava requests that this Honorable

Court enter an order: (i) allowing the Motion; (ii) ordering the Debtor to withdraw Exhibits C

and D to the Claim Objection; (iii) awarding Srivastava her fees and costs in connection with this

Motion; and (iv) granting Srivastava such other and further relief as just and necessary.

                                                      Respectfully submitted,

                                                      GITA SRIVASTAVA,

                                                      By her attorneys,


                                                      /s/ Alex F. Mattera
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                                                    Email:    amattera@psh.com

 Dated: June 20, 2019


                                CERTIFICATE OF SERVICE

       I, Alex F. Mattera, hereby certify that on the 20th day of June 2019 I caused to be served a
copy of the above pleading on all parties registered for electronic service through the CM/ECF
system.


                                                 /s/ Alex F. Mattera
                                                 Alex F. Mattera




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